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                          THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


ROSALINDA GARZA AND                                §
RAMIRO GARZA                                       §
                                                   §
       COMPLAINANTS                                §
                                                   §
vs.                                                §           Civil Action No. 1:15-cv-00063-SS
                                                   §
GO FORWARD ADVENTURES, L.L.C.                      §
D/B/A HERO RUSH AND SIGNATURE                      §
RESEARCH, INC.                                     §
                                                   §
       DEFENDANTS                                  §

                   COMPLAINANTS’ SECOND AMENDED COMPLAINT

       COME NOW Rosalinda Garza and Ramiro Garza, “Complainants,” and file this Second

Amended Complaint against Go Forward Adventures, L.L.C. d/b/a Hero Rush and Signature

Research, Inc., “Defendants,” and allege as follows:

1.0    Introduction

       1.1       This is an action arising out of injuries sustained by Rosalinda Garza as a result of

a metal/fireman’s pole that detached from Defendants’ challenge course obstacle and struck

Rosalinda Garza, a spectator, on the head at a Hero Rush Fitness Challenge Event on March 2,

2013. Complainants’ cause of action is based on the Defendants’ negligence and gross negligence.

The entire incident made the basis of this case was captured on video.

2.1    Parties

       2.1       Complainants, Rosalinda Garza and Ramiro Garza, are individuals residing in

Alice, Jim Wells County, Texas.




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        2.2     Defendant, Go Forward Adventures, L.L.C. d/b/a Hero Rush is a foreign

corporation organized and existing under the laws of the State of Maryland with its principal office

located at 6990 Columbia Gateway Drive, Suite 360, Columbia, Maryland 21046, has been served,

and has filed an answer herein.

        2.3     Defendant, Signature Research, Inc. is a foreign corporation organized and existing

under the laws of the State of Georgia with its principal office located at 5493 Westmoreland Plaza

Dr. Suite D-100, Douglasville, Georgia 30134, has been served, but no answer has been filed to

date.

3.0     Jurisdiction

        3.1     This Court has original jurisdiction of this action under 28 U.S.C. § 1332.

        3.2     Defendants are foreign corporations with their principal places of business in some

state other than Texas, thereby creating a diversity of citizenship between Complainants and

Defendants.

        3.3     The amount in controversy, exclusive of interest and costs, exceeds the sum of

$75,000.00.

4.0     Venue

        4.1     Venue is proper in the Western District of Texas because a substantial part of the

events giving rise to the claim made the basis of this cause of action occurred in Williamson

County, Texas which lies in the Western District of Texas pursuant to 28 U.S.C. § 1391(a).

5.0     Facts

        5.1     Complainants, Ramiro Garza and Rosalinda Garza are currently husband and wife

and were married at the time of the incident made the basis of this suit. They were married in 1973

and have married approximately forty-two (42 years).


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       5.2     This is an action to recover money damages for severe and permanent injuries

sustained by Complainant, Rosalinda Garza (hereafter, “Mrs. Garza”), arising from an incident that

occurred on or about March 2, 2013.

       5.3     Defendants are responsible for the design, assembly, disassembly and transport of

multiple temporary obstacles for a challenge fitness event created specifically for firefighters

called “Hero Rush.” Hero Rush provided participants with a chance to run an ‘intense’ race

through a challenge course with a series of multiple fire-related obstacles, including climbing

ladders, sliding down poles, crawling through windows and breaking down doors. Several Hero

Rush events were held throughout the United States; hence, Defendants assembled, used,

disassembled and transported the obstacles in trucks around the country.

       5.4     Defendants were also responsible for the layout of the course and the safe

placement of its spectators.

       5.5     Defendants were responsible to adequately plan and staff for the Hero Rush event

made the basis of this suit.

       5.6     The first obstacle of the Hero Rush event was called ‘Dispatch and Descent’ which

required a participant to climb a narrow flight of stairs and “rush” onto an elevated stage

approximately ten (10) to twelve (12) feet off the ground. Once on stage, the participants were to

continue forward and slide down a makeshift metal/fireman’s pole. Nine (9) metal/fireman’s poles

~ estimated twenty (20) feet high and approximately four (4) inches in diameter ~ were vertically

assembled and evenly separated across the other side of the stage. The metal/fireman’s poles were

loosely connected to each other at its top ends by a series of horizontal placed metal poles and t-

shaped connectors. The metal/fireman’s poles were not connected to each other at their bottom

ends nor secured to the ground for reinforcement. Being the first obstacle of the Hero Rush event,


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spectators, including family members were encouraged and allowed to gather in close proximity

to the stage and cheer on their favorite participant.

       5.7     On March 2, 2013, Mrs. Garza was standing immediately behind a fenced,

designated spectator area that allowed her and other spectators to stand less than twenty (20) feet

from the stage and several metal/fireman’s poles. Mrs. Garza was holding her grandchild in her

arms as she waited for her daughter to start the first obstacle. At that time, a heavy-set event

participant named John Wright began to slide down one of the metal/fireman’s poles. Suddenly

and unexpectedly, the metal/fireman’s pole ~ ridden by Mr. Wright like he was riding a horse stick

~ detached from its assembly and rapidly fell toward Mrs. Garza and her grandchild. Within a

matter of milliseconds the metal/fireman’s pole crashed into Mrs. Garza and her grandchild and

violently struck Mrs. Garza in the head. With her grandchild still in her arms, Mrs. Garza

immediately fell to the ground and lost consciousness.

       5.8     Mrs. Garza was immediately taken to Round Rock Medical Center in Round Rock,

Texas, where she was treated for head and neck trauma including multiple contusions and a

laceration to her forehead. The residual injuries and effects suffered by Mrs. Garza due to the

incident are severe and debilitating and include, but are not limited to: traumatic brain injury, loss

of memory, headaches, dizziness, difficulty speaking, depression, tooth and dental prosthesis

damage, injury to her neck and back and other additional injuries and damages.

       5.9     At the time of the incident, Mrs. Garza was a well-known and respected elementary

school in Alice, Jim Wells County, Texas. Due to the traumatic brain injury, persistent headaches,

cognitive difficulty and emotional instability caused by the violent blow to her head, Mrs. Garza

could not function as an effective school teacher and was compelled to retire after twenty-one (21)

years of teaching.


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       5.10     Further, Complainant Ramiro Garza, has suffered and will continue to suffer loss

of consortium and loss of household services in both the past and future due to event/obstacle

design and assembly failures made the basis of this suit. Due to her injuries as stated above, Mrs.

Garza could not ~ and still cannot ~ perform household duties or provide Mr. Garza with the

affection, solace, comfort, companionship, society, assistance, sexual relations, emotional support,

love, and felicity necessary to a happy and successful marriage.

       5.11     The serious injuries and damages suffered by Complainants Rosalinda and Ramiro

Garza as a result of this incident were proximately caused by the negligence and gross negligence

of Defendants as set forth herein.

6.0     Cause of Action

       a.       Negligence

       6.1      Defendants had a duty of ordinary care and additional duties owed to Complainants,

as set forth below. Defendants breached each of these duties. Defendants’ wrongful acts and

omissions constituted negligence and gross negligence and were a proximate cause of the incident

and Complainants’ damages. Defendants’ negligence resulted in the event/obstacle failures and

serious bodily injuries to Complainant, Rosalinda Garza.

       6.2      Defendants were negligent due to the following acts and omissions:

                a.     Failure to check the Dispatch Descent assembly periodically after each

                       wave of participants;

                b.     Failure to design the Dispatch Descent so that the fireman’s poles would

                       not unsafely unscrew/disassemble when used by participants;

                c.     Failure to provide a safe environment for spectators, such as Mrs. Garza;




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           d.   Failure to ensure the safety of spectators, such as Mrs. Garza by keeping

                spectators a safe distance away from Dispatch Descent obstacle;

           e.   Failure to properly assemble and/or construct the Hero Rush “Dispatch and

                Descent” challenge obstacle in a safe manner to protect participants, and

                spectators, such as Mrs. Garza;

           f.   Failure to ensure that policies, procedures and/or appropriate safety

                guidelines and measures were in place concerning the safe and proper

                assembly and/or construction of the Hero Rush “Dispatch and Descent”

                challenge obstacle;

           g.   Failure to perform proper safety inspections and testing to the Hero Rush

                “Dispatch and Descent” challenge obstacle and its components before use;

           h.   Failure to ensure that policies, procedures and/or appropriate safety

                guidelines and measures were in place to keep participants, and spectators,

                such as Mrs. Garza, safe from foreseeable danger;

           i.   Failure to warn spectators, such as Mrs. Garza, of the foreseeable dangers

                of its Hero Rush “Dispatch and Descent” challenge obstacle;

           j.   Failure to set forth safety measures, guidelines, protocols and procedures to

                avoid foreseeable incidents, such as the incident made the basis of this suit;

           k.   Failure to ensure that an effective mechanism, system or safety equipment

                was in place concerning obstacle assembly/equipment failures in order to

                protect participants, and spectators, such as Mrs. Garza, from being exposed

                to the hazards associated with the lack of such safeguards;




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                l.     Failure to hire qualified personnel to carry-out its Hero Rush “Dispatch and

                       Descent” challenge obstacle assembly and/or installation;

                m.     Failure to properly train Defendants’ personnel on proper challenge course

                       obstacle assembly and/or installation; and

                n.     Failure to properly supervise Defendants’ personnel.

       6.3      Defendants’ negligence as stated herein was a proximate cause of the Hero Rush

event/obstacle design, assembly and system failures and said negligence caused Mrs. Garza to

suffer serious and permanent injuries and Complainants’ damages.

       b.       Negligent Undertaking

       6.4      In the alternative, Defendant, Signature Research, had a duty of reasonable care

when it undertook the responsibility to: contract to cooperate with Go Forward in the design,

construct, install, breakdown, transport and storing of obstacles for the Hero Rush events, and that

all the worked performed would meet or exceed the current minimum Standards for Challenge

Course Installation and for Challenge Course Inspections as published by the Association for

Challenge Course Technology (“ACCT”). Defendant and its employees breached said duty of

ordinary care by failing to exercise reasonable care in at least the following ways:

                a.     Failure to check the Dispatch Descent assembly periodically after each

                       wave of participants;

                b.     Failure to design the Dispatch Descent so that the fireman’s poles would

                       not unsafely unscrew/disassemble when used by participants;

                c.     Failure to properly assemble and/or construct the Hero Rush “Dispatch

                       Descent” challenge obstacle in a safe manner to protect participants, and

                       spectators, such as Mrs. Garza;


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           d.   Failure to ensure that policies, procedures and/or appropriate safety

                guidelines and measures were in place concerning the proper assembly

                and/or construction of the Hero Rush “Dispatch Descent” challenge

                obstacle;

           e.   Failure to perform proper safety inspections and testing to the Hero Rush

                “Dispatch and Descent” challenge obstacle and its components before use

                and after each participant ‘wave’;

           f.   Failure to ensure that an effective mechanism, system or safety equipment

                was in place concerning obstacle assembly/equipment failures;

           g.   Failure to provide Go Forward with manufacturer/builder recommendations

                regarding obstacle load, weight and number of participant limitations per

                wave/event;

           h.   Failure to properly train its personnel on proper challenge course obstacle

                assembly and/or installation;

           i.   Failure to properly supervise its personnel;

           j.   Failure to provide Go Forward with a document certifying that the Hero

                Rush challenge course was ready for participant use;

           k.   Failure to provide Go Forward with an Acceptance Inspection that verifies

                nothing has been neglected in the element (ex. Dispatch Descent) or course

                installation and that the element or course is operating as intended;

           l.   Failure to determine inspection frequency by considering the design of the

                systems and the number of participant cycles;




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                m.     Failure to evaluate the strength of the elements and structures by applying

                       accepted engineering practice for appropriate resistance to live loads and

                       dead loads for the material under consideration (ex. fire poles);

                n.     Failure to identify possible improper use of elements/materials (ex. fire

                       poles;

                o.     Failure to take steps to identify warn and physically limit access to the

                       element (ex. fire pole) where there is a likelihood of an injury due to access

                       by an unauthorized user; and

                p.     Failure to specify the fire poles used based on expected load and safety

                       factors required by accepted engineering practice (ex. determined load

                       capacities for Dispatch Descent framework assembly).

       6.5      Defendant’s failure to exercise reasonable care in the performance of the

undertaking, as set forth above in paragraph 6.4, increased the risk of physical harm to Mrs. Garza,

or the harm suffered by Mrs. Garza resulted from Mrs. Garza’s and Defendant, Go Forward’s

reliance upon Defendant, Signature Research’s undertaking.

       6.6      Plaintiffs’ serious and permanent injuries and damages were proximately caused by

Defendant, Signature Research’s negligent undertaking as set forth above in paragraphs 6.4 and

6.5.

       c.       Premises Liability

       6.7      In the alternative, Defendants were the possessor and in control of the premises and

obstacles made the basis of this suit.

       6.8      Plaintiffs entered onto Defendants’ premises with Defendants’ knowledge and for

their mutual and economic benefit of Defendants, therefore Plaintiffs were invitees.


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       6.9     The inadequately assembled Dispatch Descent obstacle and course/spectator layout

posed and unreasonable risk of harm to the Plaintiffs;

       6.10    Defendants knew of the dangers posed by the inadequately assembled Dispatch

Descent obstacle and inadequate course/spectator layout to Plaintiffs; and

       6.11    Defendants breached their duties of ordinary care to Plaintiffs by:

               a.     failing to adequately warn the Plaintiffs of the inadequately assembled
                      Dispatch Descent obstacle and inadequate course/spectator layout;

               b.     failing to make the inadequately assembled Dispatch Descent obstacle and
                      inadequate course/spectator layout safe.

       6.12    Plaintiffs’ serious and permanent injuries and damages were proximately caused by

Defendants’ negligence as set forth in paragraphs 6.7 – 6.11.

       d.      Gross Negligence

       6.13    Defendants are well-established companies with years of experience in the business

of challenge/obstacle course creating, organizing, facilitating, constructing, training, and

consulting, serving numerous challenge fitness event organizers, participants, spectators and

trainees throughout the United States. Particularly, Defendant Signature Research, Inc.’s

President, Ben Kopp, currently serves on the board of directors for the Association for Challenge

Course Technology (“ACCT”). Defendant, Signature Research employs 13 full time employees

and numerous part time employees.

       6.14    Defendants seek to provide quality, family-friendly events, products and services

to its consumers, participants and spectators in the Challenge Course and Adventure Industries by

complying with ACCT standards and any applicable local regulations and adhering to the strictest

safety guidelines. In particular, Defendants are committed to standing by its events, products and

workmanship.


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       6.15    Defendants had actual knowledge of the importance of implementing safe

protocols, proper design, proper assembly and proper inspection regarding its ‘Dispatch and

Descent’ obstacle course, but as stated herein, failed to do so.

       6.16    Defendants were grossly negligent when they failed to properly design, assemble

and inspect their Hero Rush/‘Dispatch and Descent’ event/obstacle on March 2, 2013, because its

improper design, assembly and inspection failed to keep participants, and spectators, such as Mrs.

Garza free from foreseeable danger, mainly, the danger associated with the foreseeable

detachment/collapse of the metal/fireman’s pole(s) from its assembly. Defendants’ actions which

when viewed objectively from the standpoint of Defendants at the time of the occurrence, involved

an extreme degree of risk, considering the probability and magnitude of the potential harm to

others; and of which Defendants had actual, subjective awareness of the risk involved, but

nevertheless proceeded with conscious indifference to the rights, safety, and welfare of the

participants, and spectators, such as Mrs. Garza and other spectators who are relying on Defendants

to provide them with a safe environment.

       6.17    Complainants seek an award of exemplary damages of a sufficient amount to

punish Defendants for said grossly negligent conduct in order to serve as a deterrent to similar

conduct, as such may result in others being injured or killed in the future.

7.0    Damages

       7.1     The damages sought by Complainants exceed the minimum jurisdictional limits of

this court and are as follows:

              a) Medical expenses in past;

              b) Medical expenses, that in reasonable probability Mrs. Garza will incur in the

                 future;


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         c) Physical pain and mental anguish in the past;

         d) Physical pain and mental anguish that, in reasonable probability, Mrs. Garza will

            suffer in the future;

         e) Mental impairment in the past;

         f) Mental impairment that, in reasonable probability, Mrs. Garza will suffer in the

            future

         g) Physical impairment in the past;

         h) Physical impairment that, in reasonable probability, Mrs. Garza will suffer in the

            future;

         i) Disfigurement in the past:

         j) Disfigurement that, in reasonable probability, Mrs. Garza will suffer in the future;

         k) Loss of earnings in the past;

         l) Loss of earnings that, in reasonable probability, Mrs. Garza will suffer in the

            future;

         m) Loss of consortium for Mr. Garza in the past;

         n) Loss of consortium for Mr. Garza, that in reasonable probability, will be suffered

            in the future;

         o) Loss of household services for Mr. Garza in the past; and

         p) Loss of household services for Mr. Garza, that in reasonable probability, will be

            suffered in the future.




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8.0    Jury Trial

       8.1      Complainants hereby request a trial by jury, pursuant to the United States

Constitution 7th Amendment.

9.0    Prayer

       WHEREFORE, PREMISES CONSIDERED, Complainants respectfully request that after

a jury trial herein, they have judgment against Defendant, as follows:

       a) Judgment against Defendants for all of Complainants’ actual damages, both general and
          special, as described above, as determined by the evidence.

       b) Pre-judgment and post-judgment interest provided by law.

       c) Costs of court as authorized by law; and

       d) Such other relief to which Complainants may be entitled, both general and special.

                                             Respectfully submitted,

                                             ERSKINE & BLACKBURN, L.L.P.


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                                             And

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                                             ATTORNEYS FOR COMPLAINANTS


                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 23rd day of November, 2015, I electronically filed the foregoing
Amended Complaint with the Clerk of the Court using the CM/ECF system, which will send
notification of such filings to the following:

Steve Skarnulis
Patrick J. Fitzgerald
Cain & Skarnulis, PLLC
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Austin, TX 78701

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                                                     s/ Blake C. Erskine, Jr.




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